                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION
                               5:15CR38-RLV-DSC-4


UNITED STATES OF AMERICA,                  )
                                           )
                        Plaintiff,         )
                                           )
                                           )                  ORDER
                                           )
SAI VANG,                                  )
                                           )
                        Defendant.         )



      This MATTER is before the Court on its own Motion to administratively close the case as

to SAI VANG. The defendant appears to remain a fugitive with no activity taking place in this

case in recent times.

      It is, therefore, ORDERED that this case be deemed closed for administrative purposes

only, subject to re-opening upon the apprehension or appearance of the defendant.



Signed: March 2, 2017




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